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                                                October 11, 2024                        ROBERT J. SEMINARA
                                                                                            (19 87 -1 99 9)


                                                VIA ECF

 The Honorable Lewis J. Linman
 United States District Judge
 United States District Court
 Southern District of New York
 500 Pearl Street, Courtroom 15C
 New York, New York 10007

 Re:    Williams v. Federal Government of Nigeria et al.
        Case No.: 1:23-cv-7356 (LJL)

 Dear Judge Linman:

         We represent the Central Bank of Nigeria, a defendant in the above-captioned action, and
 are writing on behalf of all parties in accordance with the Court’s Order, dated October 8, 2024.
 We are pleased to report that the parties have reached an agreement concerning the dates,
 location and the mechanics of how plaintiff’s deposition will be conducted. The parties have
 agreed to conduct the deposition in London on December 17-19, 2024. The parties have agreed
 to a 12-hour time limit for testimony at the deposition so that we are able to accommodate
 plaintiff’s health issues while affording the defendants sufficient time to take a full and complete
 deposition. A court reporter will be present at the deposition and the deposition will be
 videotaped. Additionally, access to the deposition will be available by video-conference in the
 event anyone wishes to appear remotely. The defendants have agreed to share the costs
 associated with the deposition (i.e. court reporter, videographer and arranging for the video-
 conference). Finally, each party has agreed to bear its own costs regarding travel and lodging.

                                                Respectfully submitted

                                                BROWN GAVALAS & FROMM LLP



                                                Fred G. Wexler
 cc:    (via ECF)
        All counsel of record
